Case: 4:15-cr-00229-HEA Doc. #: 301 Filed: 12/30/20 Page: 1 of 3 PageID #: 1132




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MISSOURI
                           EASTERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
     Plaintiff,                              )
                                             )
      vs.                                    )     Case No: 4:15CR229 HEA
                                             )
HARRUNAH R. SAMORI,                          )
                                             )
      Defendant.                             )


                   OPINION, MEMORANDUM AND ORDER

      This matter is before the Court on Defendant’s pro se motion for

compassionate release pursuant to 18 U.S.C. § 3582(c)(1)(A), [Doc. No. 290].

Defendant filed his motion on June 17, 2020. On June 18, 2020 the Office of the

Federal Public Defender entered an appearance on behalf of the Defendant. On

June 20, 2020 counsel for Defendant filed a motion to withdraw. The Court

granted counsel’s motion to withdraw and appointed CJA counsel. Counsel

advised the Court that he did not intend to supplement the motion. The government

did not file a response to Defendant’s motion.

                                BACKGROUND

      Defendant plead guilty to Count One of the indictment to conspiracy to

distribute heroin in violation of 21 U.S.C. § 846, 21 U.S.C. § 841(b)(l)(B) and 21

U.S.C. § 841 (a)(l). The Court sentenced Defendant to 78 months incarceration


                                         1
Case: 4:15-cr-00229-HEA Doc. #: 301 Filed: 12/30/20 Page: 2 of 3 PageID #: 1133




and a term of 4 years supervised release on September 7, 2016.

                                   DISCUSSION

       The threshold question here is whether this Court has authority to review

Defendant’s request. The First Step Act requires Defendant to petition the Bureau

of Prisons for release before he can petition the court directly. 18 U.S.C. §

3582(c)(1)(A)(i). Defendant bears the burden of showing that he exhausted his

administrative remedies with the Bureau of Prisons before filing a compassionate-

release motion. United States v. Kinley, No. 1:16-CR-10018-003, 2020 WL

2744115, at *2 (W.D. Ark. Apr. 17, 2020).

       Here, Defendant has not met this burden. He has not provided any evidence

or assertions that he petitioned the BOP or warden of USP Thomson Satellite

Camp before petitioning the Court. Therefore, this Court finds that Defendant did

not exhaust his administrative remedies as required under 18 U.S.C. §

3582(c)(1)(A)(i); thus, the Court is without authority to act on Defendant’s motion

at this time.

     Accordingly,

     IT IS HEREBY ORDERED that Defendant’s motion for compassionate




                                          2
Case: 4:15-cr-00229-HEA Doc. #: 301 Filed: 12/30/20 Page: 3 of 3 PageID #: 1134




release [Doc. No. 290], is denied without prejudice.

      Dated this 30th day of December, 2020.




                                      ________________________________
                                         HENRY EDWARD AUTREY
                                      UNITED STATES DISTRICT JUDGE




                                         3
